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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

WILLIAM LOFTUS, et al., CASE NO.: 2:21-CV-3266-FMO-PLA
Plaintiffs, fPROPOSED} ORDER RE
STIPULATED PROTECTIVE
VS. ORDER

FARMERS GROUP, INC., et al.

Defendants.

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Having considered the papers, and finding that good cause exists, the Parties’

Stipulated Protective Order is GRANTED.

Paul L. Abrams
United States Magistrate Judge

Dated: November 4 2021

 

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[PROPOSED] ORDER RE STIPULATED PROTECTIVE ORDER

 

 
